      Case 3:20-cr-08098-SPL Document 53 Filed 04/02/21 Page 1 of 17




     DOUGLAS A. PASSON, #017423
 1   Law Offices of Doug Passon, PC
     PO Box 4425
 2   Scottsdale, AZ 85261
     Telephone: 480.448.0086
 3   Attorney for Defendant
     doug@dougpassonlaw.com
 4
                      IN THE UNITED STATES DISTRICT COURT
 5
                                 DISTRICT OF ARIZONA
 6
 7   United States of America,                     CR-20-08098-PCT-SPL (ESW)
 8                 Plaintiff,                       MOTION TO DISMISS FOR
                                                  SELECTIVE ENFORCEMENT &
 9           vs.                                   SELECTIVE PROSECUTION;
                                                    MOTION FOR DISCOVERY
10   LOREN REED,
11                 Defendant
12
13                 Loren Reed, through undersigned counsel, makes this motion to
14   dismiss for selective enforcement and selective prosecution. Mr. Reed further
15   requests that the Court order disclosure of information solely in possession of the
16   government that undersigned counsel believes will provide additional evidentiary
17   support for this motion. This motion is made pursuant to the First, Fifth, and
18
     Fourteenth Amendments to the U.S. Constitution. The motion is supported by the
19
     attached memorandum of points and authorities.
20
                   Excludable delay under 18 U.S.C. § 3161(h)(1)(D) may result from
21
     this motion or from an order based thereon.
22
     . . .
23
24
25
26
27
                                              1
28
      Case 3:20-cr-08098-SPL Document 53 Filed 04/02/21 Page 2 of 17




 1
 2                 Respectfully submitted: April 2, 2021.
 3
                                      DOUGLAS A. PASSON
 4
                                      Law Offices of Doug Passon, PC
 5
 6
                                      s/ Douglas A. Passon
                                      DOUGLAS A. PASSON
 7                                    Attorney for the Defendant
 8
 9                MEMORANDUM OF POINTS AND AUTHORITIES
10
        I.      RELEVANT FACTS.
11
12              A. Government Response to Loren Reed’s Social Media Speech.
13           This case arises from incidents that happened during the midst of
14
     nationwide protests against police brutality in the wake of the killing of George
15
     Floyd, by Minneapolis police officer Derek Chauvin. Having witnessed what
16
     appeared to be the brutal murder of an unarmed African American male,
17
     Americans took to the streets, to the internet and to the airwaves in protest. One
18
     such American was Loren Reed, a young person of color, a Navajo male, born
19
     and raised in Page, Arizona.
20
             Loren has been active on social media for some time and has some 3000
21
22
     followers on Facebook. See, https://www.facebook.com/inthis.nightmare.

23           After Floyd was killed, Loren used his Facebook platform to voice his
24   views on police brutality, racism, and government officials, primarily Donald
25   Trump, who was president at the time. From May 29, 2020 to the date of his
26   arrest on June 2, 2020, he posted hundreds of memes, posts, videos, etc.,
27
                                               2
28
      Case 3:20-cr-08098-SPL Document 53 Filed 04/02/21 Page 3 of 17




 1   expressing his views and engaging his followers in debate. See,

 2   https://www.facebook.com/inthis.nightmare. He was very provocative on this
 3   platform, especially concerning his thoughts about police brutality. Id.
 4         Loren’s profile picture on Facebook is the iconic “raised fist”, which is
 5   widely recognized as a universal symbol for solidarity, and a symbol of anti-racist
 6   protests. See, e.g., The history of the raised fist, a global symbol of fighting
 7   oppression, National Geographic Online, James Stout (Aug. 3, 2020)(
 8   https://www.nationalgeographic.co.uk/history-and-civilisation/2020/08/the-
 9   history-of-the-raised-fist-a-global-symbol-of-fighting). The raised fist symbol
10
     became the official gesture for the Black Lives Matter (BLM) movement after the
11
     death of African American teenager Michael Brown in 2014. See,
12
     https://en.wikipedia.org/wiki/Black_Lives_Matter_art. His profile “banner” is a
13
     satirical picture of the actress Julie Andrews from the classic film “The Sound of
14
     Music”, holding guns, stating, “The hills are alive with the sound of Anarchy”.
15
     Loren has always used humor, often dark humour to engage others on and offline.
16
     See, Indigenous Man Faces 10 Years for Facebook Posts, Al Jazeera News
17
18   (1/19/21), https://www.aljazeera.com/news/2021/1/19/holdindigenous-man-faces-

19   10-years-for-facebook-comments-during-b (statement of Johnathan Michael
20   Yellick, longtime friend of Loren Reed).
21         Despite little or no experience, Loren’s goal was to organize a protest in his
22   hometown. To that end, he also started a private chat session on Facebook.
23   Many people engaged in back in forth during the chat. In the chat individuals
24   engaged in vigorous debate over, among other things, the relative merits of
25   peaceful vs. non-peaceful protest. There was also a lot of talk about law-
26   enforcement, and whether “All Cops Are Bastards” because even the officers that
27
                                                3
28
      Case 3:20-cr-08098-SPL Document 53 Filed 04/02/21 Page 4 of 17




 1   do not perpetrate violence against citizens, do not speak up or intervene when

 2   misconduct occurs.
 3         During that chat, Loren expressed a desire to engage in peaceful protests.
 4   See, e.g., (“They want us to riot during curfew so they can do anything they want
 5   to us during the protest.”)(emphasis added); Government Discovery (Facebook
 6   Subpoena)(hereinafter “Govt. Disc.” at 658 (“Look. All I really want is for them
 7   to take off the titles, the gear, the badges, and join the peaceful side of the
 8   protests. For a few days. Till we get the reform we’re so desperate
 9   for.”)(emphasis added); Id. at 663 (“If you really were a good cop. You’d
10
     peacefully protest as one of us with us, no title, bo [sic] badge, just abby
11
     [sic].”)(emphasis added).
12
           Loren also understood, based on reports from across the nation, that any
13
     peaceful protest would likely be met with police violence. Id. at 1784, (“I am
14
     totally down. I really wanna remain peaceful.”); Id. at 1630 (“It’s going to start
15
     peaceful, hopefully it stays peaceful. But as soon as gas and bullets are being
16
     sprayed I can’t really say what will happen next.”). Mr. Reeds “shock talk” about
17
18   wanting to see the courthouse burn, when viewed in proper context, were

19   equivocal, stated in jest, conditional, and most importantly, meant to facilitate
20   open dialogue and debate on social justice and political issues.
21         During the Facebook exchanges, a former classmate of Loren’s, Tavis
22   Peak, a conservative, pro-law enforcement, anti-BLM engaged in a vigorous
23   debate with Loren. At some point, he claimed to be concerned about Loren’s
24   well-being. Mr. Peak stated, “Are you okay? You seem distressed. Maybe you
25   should take a social media break. You don’t seem very mentally healthy right
26   now.” Govt. Disc., at 1019 (Private FB Messages); see also, Id. at 2433
27
                                                4
28
         Case 3:20-cr-08098-SPL Document 53 Filed 04/02/21 Page 5 of 17




 1   (“Seriously, you seem very distressed. I am worried about you. Take a break.”);

 2   (“… I am genuinely concerned about your well-being and your current mental
 3   state.”) Id. at 1020. Shortly thereafter, Mr. Peak called local police. Mr. Peak did
 4   not express concern about statements regarding burning a courthouse. He did
 5   notify police that Mr. Reed was trying to organize “a riot”.
 6           After Mr. Peak’s report, Page police officers and/or the F.B.I. infiltrated
 7   Loren’s private chat group using a false identity. 1 They read his correspondence,
 8   apparently conducted surveillance, and eventually arrested him on June 2, 2020,
 9   the same day the supposed “riot” was to occur. When arrested, Loren was on his
10
     way to McDonalds. Police and FBI searched his person, his home, and his car.
11
     There is absolutely no evidence that Loren Reed had any plans to burn a candle,
12
     let alone a courthouse. Indeed, the so-called “riot” which had initially been
13
     planned for May 31, 2020, but postponed two times for lack of interest, never
14
     materialized.
15
             The government then charged Loren Reed with violating 18 U.S.C. §
16
     844(e). The Indictment alleges that he either “willfully made a threat” to
17
18   “unlawfully damage and destroy the Page Magistrate Court building by means of

19   fire, or that he, “alternatively, maliciously conveyed false information knowing
20   the same to be false, concerning an attempt and alleged attempt being made, and
21   to be made,” to burn the courthouse. His only alleged crime is uttering words on
22   a private Facebook chat session.
23
24
     1Recently, a story broke on the local ABC affiliate that local Arizona police departments engaged in a
25   coordinated effort to gather intelligence on local Black Lives Matter protestors throughout the past year.
26   See Valley Police Departments, FBI gathered intel on BLM Protestors, March 19, 2021
     (https://www.abc15.com/news/local-news/investigations/protest-arrests/valley-police-departments-fbi-
27   gathered-intel-on-blm-protesters).
                                                         5
28
      Case 3:20-cr-08098-SPL Document 53 Filed 04/02/21 Page 6 of 17




 1              B. Federal Government Response to George Floyd Protests

 2           As stated, this all occurred at the exact same time protests were happening
 3
     across the country (and also internationally) after the murder by Minneapolis
 4
     police of an African American man, George Floyd. The former president, chief
 5
     law enforcement executive, in charge of the Department of Justice and other
 6
     federal agencies, ordered his law enforcement agencies to “dominate” individuals
 7
     protesting issues of racial justice and police brutality and called for their
 8
     incarceration for “ten years”. See, e.g., Trump Tells Governors to ‘Dominate’
 9
10
     Protesters, ‘Put Them In Jail For 10 Years’, Forbes (June 1, 2000)

11   (https://www.forbes.com/sites/mattperez/2020/06/01/trump-tells-governors-to-

12   dominate-protesters-put-them-in-jail-for-10-years/?sh=37a768e913fb). The
13   former president stated, “You’ve got to arrest people, you have to track people,
14   you have to put them in jail for 10 years and you’ll never see this stuff again.”
15   See, e.g., Id.   The former president further stated, “It’s a movement, if you don’t
16   put it down it will get worse and worse.” E.g., Id.
17           The former president, who controlled the Justice Department and FBI who
18   enforced and prosecuted these charges, focused his comments on the Black Lives
19   Matter (BLM) movement, and the supposed “left wing” organization called
20
     “Antifa”. In other words, the former president ordered the selective enforcement
21
     and prosecution against groups based on their speech, their political beliefs, their
22
     political affiliations, and likely their race. Of course, a conviction under 18 U.S.C.
23
     § 844(e) carries a penalty of ten years in prison.
24
     . . .
25
26
27
                                                6
28
      Case 3:20-cr-08098-SPL Document 53 Filed 04/02/21 Page 7 of 17




 1             C. Government’s Very Different Response to Social Media Speech
                  of Proud Boys, Oath Keepers, White Supremacists, and Trump
 2                Supporters Protesting a Supposedly Stolen Election.
 3
           On January 6, 2021, America witnessed a horrific attack on our Nation’s
 4
     Capital. The attack was coordinated by Trump supporters (arguably Trump
 5
     himself) with the goal of overturning the 2020 presidential election. The crowd
 6
     was expressing their beliefs that the presidential election was stolen, and that they
 7
     were doing their patriotic duty. The crowd was almost exclusively white. The
 8
     crowd consisted of organized groups espousing white supremacist, white
 9
     nationalist, and pro-Trump ideology. One man was proudly wearing a “Camp
10
     Auschwitz” sweatshirt, mocking the murder of six million Jews in the holocaust.
11
     See, e.g., Man in 'Camp Auschwitz' shirt, photographed at U.S. Capitol riot,
12
     arrested in Virginia, NBC News (Jan. 13, 2021)(
13
     https://www.nbcnews.com/news/us-news/man-camp-auschwitz-shirt-
14
     photographed-u-s-capitol-riot-arrested-n1254070). Others shouted racial slurs at
15
     African American Capitol Police Officers. See, Black Police Officers Describe
16
     The Racist Attacks They Faced As They Protected The Capitol, Buzzfeed News
17
     (Jan. 9, 2021)( https://www.buzzfeednews.com/article/emmanuelfelton/black-
18
     capitol-police-racism-mob). People died and were horribly injured, including
19
     several law-enforcement officers. Trump supporters defecated on the floor and
20
     rubbed feces on the wall. Members of Congress were in fear for their lives, the
21
     lives of their staff, and in some cases, the lives of their family that day.
22
           Of course, a new administration is now in place and prosecutions for the
23
     conduct that occurred on January 6, 2020 are now in full swing. More telling
24
     however, was the deafening silence of the former administration when this violent
25
     attack was being openly planned on social media sites such as “Parlor”. It is no
26
     surprise that federal law enforcement did nothing to arrest or prosecute those
27
                                                7
28
      Case 3:20-cr-08098-SPL Document 53 Filed 04/02/21 Page 8 of 17




 1   making open threats on these social media sites. The former president’s Justice
 2   Department had been implementing selective enforcement and prosecution of
 3   individuals who were political (“MAGA”) supporters, and almost exclusively
 4   white men, throughout his term of office.
 5         Time and time again under the former administration, officials and
 6   individuals with far greater privilege, platform, and influence than Loren Reed
 7   have uttered violent, threatening, and inciting speech on social media and other
 8   traditional media platforms, with no criminal consequence. For example:
 9
        • Roger Stone, a white male and longtime political ally of the former
10        president, while on release pending trial, tweets a picture of his trial judge’s
11        face with gun sights on it.
12        (https://www.buzzfeednews.com/article/ryanmac/roger-stone-instagram-
          judge-photo);
13
14
        • Trump lawyer/supporter and white male Joe DiGenova says Chris Krebs,
15        former head of CISA, should be “drawn and quartered. Taken out at dawn
16        and shot” on Newsmax TV.
17
          (https://www.bloomberg.com/news/articles/2020-12-08/trump-lawyer-is-
          sued-after-saying-cyber-official-should-be-shot);
18
19      • Steve Bannon, a white male and Trump supporter, threatened FBI Director
20        Christopher Wray and Dr. Anthony Fauci with beheading. He said, “I’d
21        actually like to go back to the old times of Tudor England. I’d put the heads
          on pikes. I’d put them at the two corners of the White House as a warning
22
          to federal bureaucrats… You either get with the program or you’re gone ―
23
          time to stop playing games.. Blow it all up.”
24        https://www.huffpost.com/entry/steve-bannon-anthony-fauci-christopher-
25        wray-head-on-pikes_n_5fa47a2cc5b64c88d3fe9d67. Bannon was also on
26
          federal pre-trial release at the time he made those threats. Notably, there’s a

27
                                              8
28
      Case 3:20-cr-08098-SPL Document 53 Filed 04/02/21 Page 9 of 17




 1         video circulating from the January insurrection where a rioter is screaming
           “heads on pikes!”.
 2
 3
        • Lin Wood, another Trump-aligned attorney, also a white male, said on
 4        Parlor, “Get the firing squads ready. Pence goes FIRST” during the January
 5        6th storming of the capital. Even the right-wing Parlor App found this a
 6
          bridge too far and took the comments down.
          (https://www.cnn.com/2021/01/09/politics/parler-lin-wood-mike-
 7
          pence/index.html);
 8
 9      • Radio personality, Trump supporter, and white male, Alex Jones made an
10        unsubtle threat to murder President Biden, when he declared at a Trump
          rally, “I don’t know who is going to the White House in 38 days, but I
11
          know this-- Joe Biden is a globalist and he will be removed one way or
12        another.” (https://www.independent.co.uk/news/world/americas/us-
13        politics/alex-jones-arrest-biden-speech-trump-b1773646.html);
14
15      • Arizona’s Rep. Paul Gosar’s own brother thinks his incendiary words to the
          “Oath Keepers” involved in the capital raid were “treasonous”.
16
          (https://www.abc15.com/news/region-phoenix-metro/central-
17        phoenix/brother-thinks-congressman-paul-gosar-committed-treason-in-
18        capitol-riot). According to the Anti-Defamation League, the Oath Keepers
19        goal is to “spread the anti-government ideology of the militia movement
          among, and to seek recruits from, former and active-duty military
20
          personnel, law enforcement officers and first responders.”
21        https://www.adl.org/resources/glossary-terms/oath-keepers
22
23   The speech of these men and many others like them, all of which appear to have

24
     been made with impunity, was taken quite seriously by the listeners and the

25
     intended targets of the threats.

26
           What is most relevant to this inquiry is the fact that these insurrectionists

27   openly plotted, planned, and threatened violence on, among other place, the
                                               9
28
      Case 3:20-cr-08098-SPL Document 53 Filed 04/02/21 Page 10 of 17




 1   Parlor social media platform. Unlike the speech at issue in this case, the threats
 2   on Parlor were often made publicly, to a much larger audience, and apparently
 3   none of the language used there was treated as criminal speech. It took actual
 4   bloodshed at the Capitol to result in any criminal consequences for people who
 5   openly issued the following threats:
 6         •“Fry’em up. The whole fkn crew. #pelosi #aoc #thesquad #soros #gates
           #chuckschumer #hrc #obama #adamschiff #blm #antifa we are coming for
 7         you and you will know it.”
 8
           •“#JackDorsey ... you will die a bloody death alongside Mark Suckerturd
 9
           [Zuckerberg].... It has been decided and plans are being put in place.
10         Remember the photographs inside your home while you slept? Yes, that
11
           close. You will die a sudden death!”

12         •“We are going to fight in a civil War on Jan.20th, Form MILITIAS now
13         and acquire targets.”
14         •“On January 20th we need to start systematicly [sic] assassinating [sic]
15         #liberal leaders, liberal activists, #blm leaders and supporters, members of
           the #nba #nfl #mlb #nhl #mainstreammedia anchors and correspondents
16
           and #antifa. I already have a news worthy event planned.”
17
18         •“Shoot the police that protect these shitbag senators right in the head then
           make the senator grovel a bit before capping they ass.”
19
20         •“After the firing squads are done with the politicians the teachers are
           next.”
21
22         •“Death to @zuckerberg @realjeffbezos @jackdorsey @pichai.”
23
           •“White people need to ignite their racial identity and rain down suffering
24         and death like a hurricane upon zionists.”
25
26         •“Put a target on these motherless trash [Antifa] they aren’t human taking
           one out would be like stepping on a roach no different.”
27
                                              10
28
      Case 3:20-cr-08098-SPL Document 53 Filed 04/02/21 Page 11 of 17




 1         •“ “We need to act like our forefathers did Kill [Black and Jewish people]
           all Leave no victims or survivors.”
 2
 3         •“We are coming with our list we know where you live we know who you
           are and we are coming for you and it starts on the 6th civil war... Lol if you
 4
           will think it’s a joke... Enjoy your last few days you have.”
 5
 6
           •“This bitch [Stacey Abrams] will be good target practice for our
           beginners.”
 7
 8         •“This cu** [United States Secretary of Transportation Elaine Chao]
           should be... hung for betraying their country.”
 9
10         •“Hang this mofo [Georgia Secretary of State Brad Raffensperger] today.”
11
           •“HANG THAt N***** ASAP”
12         See, https://gizmodo.com/amazon-court-filing-includes-chilling-death-
13         threats-pub-1846048394
14
15         In a recent revelation in the New York Times, the social media site hosting

16   the majority of these vile threats, Parler, says it warned the F.B.I. about the threats

17   before the January 6th riot. Parler Says It Sent the F.B.I. Posts About Threats to

18   the Capitol Ahead of Jan. 6, New York Times, March 25, 2001.

19   (https://www.nytimes.com/2021/03/25/us/parler-fbi-capitol-attack.html). Indeed,

20   Parler claims it had been working with law enforcement as early as November

21   2020, “to identify possible illegal activity,” including “specific threats to the

22   Capitol”. Id. Parler further states it “referred violent content from its platform to

23   the F.B.I. for investigation over 50 times,” during that period, including “specific

24   threats of violence being planned at the Capitol.” Id. (emphasis added). To

25   counsel’s knowledge, no one was ever arrested or prosecuted for making these

26   well-documented online threats that ended in very real violence and property

27   destruction. Indeed, the former president still refuses to condemn his political
                                               11
28
      Case 3:20-cr-08098-SPL Document 53 Filed 04/02/21 Page 12 of 17




 1   supporters who participated in the insurrection, claiming that there was “zero
 2   threat” and some were simply “hugging and kissing” Capitol police officers.
 3   Statement from Former President on CNN,
 4   https://www.youtube.com/watch?v=LTM9uqeDFqM.
 5
 6      II.      LAW AND ARGUMENT.

 7
              A. Selective Prosecution & Selective Enforcement.
 8
 9            Government officials may not enforce criminal statutes in a discriminatory
10   or selective fashion. The basic principle was stated long ago in Yick Wo v.
11   Hopkins, 118 U.S. 356 (1886). There, the Supreme Court stated, “[t]hough the
12   law itself be fair on its face and impartial in appearance, yet, if it is applied and
13   administered by public authority with an evil eye and an unequal hand, so as
14   practically to make unjust and illegal discriminations between persons in similar
15   circumstances, material to their rights, the denial of equal justice is still within the
16   prohibition of the Constitution.” 118 U.S. at 373-74. Generally, courts are
17   reluctant to second-guess a prosecutor’s discretion in choosing which cases to
18   prosecute. United States v. Armstrong, 517 U.S. 456, 464-65 (1996).
19   Consequently, “[t]o establish a claim of selective prosecution, a defendant must
20   show both discriminatory effect and discriminatory purpose.” Id. at 458.
21            One could credibly argue that the term res ipsa loquitor applies here, as the
22   disparate treatment based on race, political ideology, and support of the former
23   president speaks for itself. However, one need not speculate as to whether
24   discriminatory effect and purpose are at play here. Indeed, the former president
25   made no secret as to the desired and purpose and effect for disparate and
26   unconstitutional treatment of BLM protestors vs. election fraud insurrectionists
27
                                                12
28
      Case 3:20-cr-08098-SPL Document 53 Filed 04/02/21 Page 13 of 17




 1   and other of his high-profile supporters—his goal was to quell a political
 2   “movement” and to “dominate” BLM protestors and their allies. There can be no
 3   more insidious form of discrimination than selective law enforcement or
 4   prosecution of American citizens based on race, national origin, political
 5   ideologies, and political affiliations.
 6
 7         B. Mr. Reed is Entitled to Discovery to Further Bolster His Claims of
              Selective Enforcement and Selective Prosecution.
 8
 9         In order for a defendant to be entitled to discovery to support a claim of
10   selective prosecution, the defendant must make a showing that “the Government
11   has failed to prosecute others who are similarly situated to the defendant” as
12   evidence of discriminatory effect. United States v. Sellers, 906 F.3d 848 (9th Cir.
13   2018)(citing Armstrong, 517 U.S. at 469). The claim of “selective prosecution” is
14   different than the claim of “selective enforcement”. Sellers, 906 F.3d 852-53.
15   This has to do with the conduct of law enforcement agents, not prosecutors. The
16   Ninth Circuit makes it clear that, “agents of the ATF and FBI are not protected by
17   a powerful privilege or covered by a presumption of constitutional behavior.” Id.
18   at 853. Thus, although the standard for selective prosecution tends to be more
19   “rigorous”, no such standard exists when it comes to selective actions of law
20   enforcement. Id.
21         Mr. Reed has already made a compelling prima facia case of selective law
22   enforcement and selective prosecution. He has every reason to believe that
23   further discovery will further solidify his clear-cut claim of disparate treatment
24   based on race, political belief, and political affiliation. Consequently, Mr. Reed
25   respectfully requests that this Court enter an order requiring the government to
26   disclose the following:
27
                                               13
28
     Case 3:20-cr-08098-SPL Document 53 Filed 04/02/21 Page 14 of 17




 1
 2       1) Any directive (written, electronic, or otherwise) to local law
            enforcement agencies by any federal government office or official
 3
            during Trump administration, concerning the surveillance, arrest,
 4          prosecution, and other tactics to be employed against those involved
 5          in protest during and after the George Floyd/BLM protests;
 6
         2) Any and all correspondence between local and federal law
 7
            enforcement concerning surveillance of BLM protestors, or anyone
 8
            engaging in speech including “All Cops are Bastards” (“ACAB”).
 9          before, during and after his June 2, 2020 arrest;
10
11
         3) Any and all correspondence between local and federal law
            enforcement concerning Loren Reed before, during and after his
12
            June 2, 2020 arrest;
13
14       4) Any directive (written, electronic, or otherwise) from any federal
15          government office or official to local federal law enforcement agents
            concerning the treatment, surveillance, and arrest of protestors or
16
            those planning or organizing protests in the wake of the George
17          Floyd killing;
18
19       5) Any correspondence (written, electronic, or otherwise) or notes
            regarding same between the United States Department of Justice
20
            and the United States Attorney’s office for the District of Arizona
21
            concerning the surveillance, arrest, and prosecution of Loren Reed;
22
23       6) Any FBI 302 reports generated, and any written or electronic
24          correspondence sent to any federal law enforcement entity,
            concerning warnings of threats, including threats of violence or
25
            property destruction planned for January 6, 2021 Capitol protests,
26          or any other date specific, received by federal law enforcement
27
                                         14
28
     Case 3:20-cr-08098-SPL Document 53 Filed 04/02/21 Page 15 of 17




 1          from the Parler Social Media application between the period of
            November 1, 2020 and January 6, 2021;
 2
 3       7) Any FBI 302 reports generated, and any written or electronic
 4          correspondence sent to any federal law enforcement entity,
 5          concerning warnings of threats, including threats of violence or
            property destruction planned for January 6, 2021 Capitol protests,
 6
            or any other date specific, received by federal law enforcement
 7
            from any other Social Media application, including but not limited
 8          to, Twitter and Facebook, between the period of November 1, 2020
 9          and January 6, 2021;
10
         8) Any FBI 302 reports generated, and any written or electronic
11
            correspondence sent to any federal law enforcement entity,
12          concerning warnings of threats, including threats of violence or
13          property destruction planned for January 6, 2021 Capitol protests,
14          or any other date specific, received by federal law enforcement
            from any source (not necessarily involving social media platforms,
15
            but rather concerned citizens, anonymous tips, and the like)
16          between the period of November 1, 2020 and January 6, 2021;
17
18       9) Every case during the Trump presidency where an individual was
            arrested or prosecuted pursuant to 18 U.S.C. § 844 or any other
19
            federal “threats” statute; and
20
21       10) Any policy or directive allowing FBI to infiltrate or monitor
            private internet communications without a search warrant.
22
23
24
25
26
27
                                        15
28
      Case 3:20-cr-08098-SPL Document 53 Filed 04/02/21 Page 16 of 17




 1
 2
 3      III.   CONCLUSION.
 4
           Anyone objectively looking at this case would have a hard time justifying
 5
     how the long list of violent, incendiary language by angry white males protesting
 6
     a fake stolen election on social media goes unpunished, but the equivocal, joking,
 7
     anguished, and perhaps inartfully chosen words of a young Navajo male, crying
 8
     out for justice and social change is dealt with the full force of authority. Loren
 9
     Reed recently turned 27-years-old while sitting in jail, awaiting trial on this
10
     indictment. He has served over ten months of pre-trial incarceration and now
11
     faces additional time and a felony conviction that will impact his entire future. It
12
     is time now for the F.B.I., local law enforcement and the Department of Justice to
13
     answer for these disparities.
14
15                       Respectfully submitted: April 2, 2021.
16
                                      DOUGLAS A. PASSON
17                                    Law Offices of Doug Passon, PC
18
                                      s/ Douglas A. Passon
19                                    DOUGLAS A. PASSON
20                                    Attorney for the Defendant
21
22
23
24
25
26
27
                                               16
28
      Case 3:20-cr-08098-SPL Document 53 Filed 04/02/21 Page 17 of 17




 1
 2
 3   Copy of the foregoing transmitted
     by ECF for filing April 2, 2021, to:
 4
 5   CLERK’S OFFICE
 6
     United States District Court
     Sandra Day O’Connor Courthouse
 7   401 W. Washington
 8   Phoenix, Arizona 85003
 9   DAVID PIMSNER
10   KEVIN HAKALA
     Assistant U.S. Attorney
11
     United States Attorney’s Office
12   Two Renaissance Square
13   40 N. Central Avenue, Suite 1200
     Phoenix, Arizona 85004-4408
14
15
16
17   Copy mailed to:
18
     LOREN REED
19   Defendant
20
21
22
23
24
25
26
27
                                            17
28
